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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                             Case No.: 10-60932-Civ-Cooke/Bandstra

  JEFFREY D. BIANCHI,

             Plaintiff,
  v.

  FIRSTSOURCE ADVANTAGE, LLC,

             Defendant.
  _________________________________________/

                            JOINT STIPULATION FOR DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(ii) and having amicably resolved certain matters in

  controversy, the parties jointly stipulate to a Dismissal of Plaintiff’s claims under the Fair Debt

  Collection Practices Act and the Florida Consumer Collection Practices Act with prejudice and a

  dismissal of Plaintiff’s claims under the Telephone Consumer Protection Act without prejudice

  with each party to bear its own attorney’s fees and costs except as otherwise agreed by the

  parties.


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  By: /s/ Donald A. Yarbrough                   By: /s/ Ernest H. Kohlmyer
  Donald A. Yarbrough, Esq.                     Ernest H. Kohlmyer, Esq.
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         Plaintiff,
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         Defendant.

  _______________________________/

                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on December 2, 2010 I electronically filed the foregoing
  document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is
  being served this day on all counsel of record or pro se parties identified on the attached Service
  List in the manner specified, either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to receive electronically Notices of Electronic Filing.

                                                       s/Donald A. Yarbrough
                                                       Donald A. Yarbrough, Esq.


                                          SERVICE LIST

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